            Case 4:93-cr-40063-JPG                    Document 459 Filed 12/11/08                                      Page 1 of 2              Page ID
~AO 2450
                                                                #214
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                                               J::t.
                                                           Southern District of Illinois                                                J),.          '1/.1$'1'
        UNITED STATES OF AMERICA
                                                                                                                          &OC{~
                                                                                          Judgment in a Criminal Cas(!/)-~Z,1r; u
                                                                                                                                        -c:c I I                      U
                   v.                                                                     (For Revocation of Probation or Supervis~~~~>.                 ..:h.-.
                                                                                                                                  ~~";. ~&~ &1'; '''fofY
                LEONARD BOWEN                                                                                                        '·"0 ''1'1.0,.,,,,,C,. 0,.,,. COl/.
                                                                                                                                            ~         'I'/C

                                                                                          Case No. 3:93CR40063-001                                    /C~ /{{/~6"
                                                                                                                                                                           ~&
                                                                                         USM No. 0295-025
                                                                                           Judith A. Kuenneke, AFPO
                                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _a_s_a_lI_e"'gc..e_d_i_n-'-pc..e_ti_ti-'o_n      of the tenn of supervision.
D   was found in violation of condition(s)            _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                              Violation Ended
Statutory                      The defendant illegally possessed marijuana                                                    09/27/2008



Standard # 2                   The defendant failed to submit written reports timely                                          09/27/2008



       The defendant is sentenced as provided in pages 2 through _--,2=-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2952                                       12/08/2008
                                                                                                             Date of Imposition of Judgment


                                                                                        _i1-v-IY:;-c.:£.L...f;~~i)4S{~--
Defendant's Year of Birth:         1960

City and State of Defendant's Residence:
Colp,IL
                                                                                              -0--                 Signature of Judge

                                                                                           J. Phil Gilbert                              District Judge
                                                                                                                Name and Title of Judge

                                                                                                             «.dea <       /1
                                                                                                                         Date '
              Case 4:93-cr-40063-JPG                     Document 459 Filed 12/11/08                   Page 2 of 2            Page ID
  AO 2450                                                          #215
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                      Judgment -   Page   _..:2=-_ of   2
 DEFENDANT: LEONARD BOWEN
 CASE NUMBER: 3:93CR40063-001


                                                                 IMPRISONMENT

          The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total tenn of :
8 months




      o    The court makes the following reconnnendations to the Bureau of Prisons:




      t/ The defendant is remanded to the custody of the United States Marshal.
      o   The defendant shall surrender to the United States Marshal for this district:
          o    at   _________ 0                          a.m.      o     p.m.    on
          o    as notified by the United States Marshal.

      o   The defendant shall surrender for service of sentence at the institution designated. by the Bureau of Prisons:
          o    before 2 p.m. on
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                                By   -----:::====:-::-:::=-:c=,.,..,..,c=,-;-:-:,.-----
                                                                                              DEPUTY UNITED STATES MARSHAL
